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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

   UNITED STATES OF AMERICA                 )
                                            )
               VS.                          )            CAUSE NO. 3:14-CV-167-RLM
                                            )      (ARISING OUT OF 3:07-CR-111-RLM)
   ERNEST D. GLASPER                        )



                               OPINION and ORDER

        On January 4, 2008, Ernest Glasper pleaded guilty to possession of a

  firearm as a convicted felon, violating 18 U.S.C. § 922(g)(1), and using/carrying

  a firearm during and in relation to carjacking, violating 18 U.S.C. § 924(c). In

  an amended plea agreement, entered on February 15, 2008, Mr. Glasper

  agreed to change the binding sentence recommendation from 84 months’

  imprisonment to 141 months’ imprisonment and to waive any objections to the

  sentencing guideline calculations in the Presentence Investigation Report. In

  return, the government agreed not to prosecute Mr. Glasper for perjury

  stemming from his plea hearing testimony and his testimony at the trial of his

  co-defendant. Accordingly, on March 13, 2008, the court sentenced Mr.

  Glasper to an aggregate sentence of 141 months’ imprisonment. More than five

  years later, Mr. Glasper has filed a petition for review of his sentence pursuant

  to 28 U.S.C. § 2255 and pursuant to his First Amendment right to petition the

  government for “redress of grievance.” Mr. Glasper’s primary contention is that

  the recently decided Supreme Court decision Alleyne v. United States, 133

  S.Ct. 2151 (2013), alters his sentence.
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        A prisoner must file a § 2255 motion within one year of the date on

  which (1) the judgment of conviction becomes final, (2) the governmental action

  violating the Constitution or federal law that prevents the prisoner from making

  his motion is removed, (3) the Supreme Court recognizes the right asserted, or

  (4) the facts supporting the claim could have been discovered. 28 U.S.C. §

  2255(f). Mr. Glasper argues that the right he asserts pursuant to the Alleyne

  decision is a new right that applies retroactively to cases on collateral review.

  Prisoners have one year from the date on which the Supreme Court initially

  recognized the asserted right to file a § 2255 petition, if that right has been

  newly recognized by the Supreme Court and made retroactively applicable to

  cases on collateral review. 28 U.S.C. § 2255(f)(3). The Supreme Court hasn’t

  declared that the rule of constitutional law established in Alleyne applies

  retroactively on collateral attack. Simpson v. United States, 721 F.3d 875, 876

  (7th Cir. 2013). Mr. Glasper also argues that he couldn’t have discovered the

  facts supporting his claim that the judge couldn’t make a finding that he

  brandished the firearm until the Supreme Court decided Alleyne on June 17,

  2013. Prisoners have one year from the date on which the facts supporting the

  claim presented could have been discovered through the exercise of due

  diligence to file a § 2255 motion. 28 U.S.C. § 2255(f)(4). Mr. Glasper doesn’t

  assert the discovery of any new facts in his case. Mr. Glasper doesn’t claim that

  § 2255(f)(2) applies to his motion, so that leaves § 2255(f)(1) as the applicable

  start date of the statute of limitations. Mr. Glasper had one year from the date


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  on which his judgment of conviction became final to file a § 2255 motion. 28

  U.S.C. § 2255(f)(1). He didn’t file a direct appeal of the judgment, so his

  conviction became final when his opportunity to appeal expired. Clay v. United

  States, 537 U.S. 522, 525 (2003); Shakespeare v. United States, No. 1:13-CV-

  236, 2013 WL 2942842, at *2 (S.D. Ind. June 13, 2013). The court entered

  judgment against Mr. Glasper on the date of his sentencing, March 13, 2008,

  and Mr. Glasper then had fourteen days in which to file a notice of appeal. FED.

  R. APP. P. 4(b). His one-year period to file a § 2255 motion thus began on March

  27, 2008. The current motion was filed on January 9, 2014, well outside the

  one-year period. Mr. Glasper’s § 2255 motion is untimely.

        Alternatively, Mr. Glasper argues that his First Amendment right to

  petition the government for “redress of grievance” has no statute of limitations.

  The right to petition the government for redress of grievances includes the right

  of access to the courts. Bridges v. Gilbert, 557 F.3d 541, 553 (7th Cir. 2009).

  “While the right of access to the courts requires prison officials to provide

  prisoners with the necessary tools ‘to attack their sentences, directly or

  collaterally,’ and ‘to challenge the conditions of their confinement,’ it is not an

  abstract, freestanding right to legal assistance.” Id. (citations omitted). The

  right is “tied to and limited by a prisoner’s right to vindication for a separate

  and distinct right to seek judicial relief for some wrong.” Id. Mr. Glasper doesn’t

  assert an underlying claim that implicates his right of access to the courts. A

  prisoner whose complaint implies the invalidity of his ongoing custody must


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  seek review by collateral attack pursuant to the appropriate federal or state

  statute. Simpson v. Nickel, 450 F.3d 303, 306-307 (7th Cir. 2006). Mr. Glasper

  asks the court to vacate or correct his sentence, so his claim must be brought

  through a collateral attack, such as a § 2255 motion. As already discussed,

  however, Mr. Glasper’s § 2255 motion is untimely.

        Even if the § 2255 motion were timely, Mr. Glasper wouldn’t benefit from

  the Alleyne decision. Alleyne overruled Harris v. United States, 536 U.S. 545

  (2002), and held that “[a]ny fact that, by law, increases the penalty for a crime[,

  including a mandatory minimum sentence,] is an ‘element’ that must be

  submitted to the jury and found beyond a reasonable doubt.” Alleyne v. United

  States, 133 S.Ct. 2151, 2155 (2013). Harris distinguished between facts that

  increase the statutory maximum, which a jury had to determine, and facts that

  increase the mandatory minimum, which the sentencing judge could decide.

  Alleyne v. United States, 133 S.Ct. at 2155. After Alleyne, facts that increase

  either the statutory maximum or the mandatory minimum can’t be decided by

  the sentencing judge, but must be decided by a jury beyond a reasonable

  doubt. Id.

        Mr. Glasper claims that he was convicted of use and/or carrying of a

  firearm in relation to a crime of violence, but the government alleged or inferred

  that he brandished the firearm. Count 8 of the superseding indictment, a

  violation of § 924(c), didn’t include a brandishing element. The court didn’t

  make an explicit finding that Mr. Glasper brandished the weapon, but the


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  finding is implied since § 924(c) imposes a mandatory minimum seven year or

  84-month term of imprisonment if the firearm was brandished, and the court

  sentenced Mr. Glasper to 84 months’ imprisonment for the violation of § 924(c).

  Following Alleyne, the sentencing judge couldn’t have determined whether Mr.

  Glasper brandished the firearm, a fact that by law increased the penalty for the

  crime. But Mr. Glasper entered into a binding agreement with the government

  regarding the term of his imprisonment. Paragraph 9(j) of the initial plea

  agreement stated:

            [T]he government and defendant Glasper agree to a binding
            sentence (total, on both counts) of 84 months imprisonment
            followed by three years supervised release. That is, if the court
            accepts this plea agreement, the defendant will be sentenced to 84
            months imprisonment on Count 8 if found to have “brandished”
            the firearm and no imprisonment on Count 2 OR 60 months
            imprisonment on Count 8 and 24 months imprisonment on Count
            2 – and in any case followed by three years supervised release
            (concurrent) on each count.

  The amended plea agreement replaced paragraph 9(j) with the following:

            [T]he government and defendant Glasper agree to a binding
            sentence (total, on both counts) of 141 months imprisonment
            followed by three years supervised release.

  The question of whether Mr. Glasper brandished the firearm existed in the

  initial plea agreement, but had disappeared in the amended version. Under the

  initial    agreement,   Mr.   Glasper   was    to   be   sentenced   to   84   months’

  imprisonment total, regardless of whether he brandished the firearm. The

  months would be allotted depending on the court’s finding regarding whether

  he brandished the firearm, but otherwise the total amount wouldn’t change.


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  Similarly, but without being expressly defined, under the amended agreement,

  Mr. Glasper was to be sentenced to 141 months’ imprisonment total, regardless

  of whether he brandished the firearm. The amended agreement didn’t specify

  the allotment of the months between the counts, but if the court found Mr.

  Glasper didn’t brandish the firearm, his total sentence would still have been

  141 months’ imprisonment. The holding of Alleyne doesn’t benefit Mr. Glasper.

       Mr. Glasper’s § 2255 motion is untimely – and even if timely, wouldn’t

  entitle him to the relief he seeks – and Mr. Glasper’s First Amendment claim

  has no merit. The court DENIES his motion pursuant to 28 U.S.C. § 2255 and

  the First Amendment (Doc. No. 136 in 3:07-cr-111).

       SO ORDERED.

       ENTERED: January 31, 2014




                                          /s/ Robert L. Miller, Jr.
                                     Judge
                                     United States District Court




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